
PER CURIAM.
Scott Earle challenges an order that denied his rule 3.850 motion for postcon-viction relief. We reverse and remand for the trial court to conduct an evidentiary hearing to address Earle’s sentences in light of State v. Klayman, 835 So.2d 248 (Fla.2002); State v. Travis, 808 So.2d 194 (Fla.2002); Hayes v. State, 750 So.2d 1 (Fla.1999); see also DeFreis v. State, 814 So.2d 1166 (Fla. 4th DCA 2002). We find no error with the trial court’s disposition of Earle’s other claims.
POLEN, C.J., SHAHOOD and MAY, JJ., concur.
